     Case 2:22-cv-00057-TOR        ECF No. 1-2      filed 04/04/22      PageID.8 Page 1 of 11


                                                      FILED
                                                      3/10/2022
                                                      Timothy W Fitzgerald
1
                                                      Spokane County
                                                              County Clerk
2

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4

 5

6
                IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                       IN AND FOR THE COUNTY OF SPOKANE

 8                                                     )
      JOHN "JACK"
           "JACK" KRILL, an individual,                )
 9
                                                       )      22-2-00754-32
10            Plaintiff,                              )) No.
                                                          No.
                               v.                     )
11                                                     ) SUMMONS
                                                          SUMMONS
      LIFE FLIGHT
      LIFE  FLIGHT NETWORK,
                        NETWORK,LLC,   LLC,aaforeign
                                              foreign))
I2
12    limited liability
      limited liability company
                        companydoing
                                   doingbusiness
                                         businessinin )
     the state
          stateof
                ofWashington;
                   Washington;and  andJOHN
                                        JOHNDOEDOE )
13   EMPLOYEES
     EMPLOYEES II —      — VV of LIFE FLIGHT
                              of LIFE                  )
     NETWORK, LLC.
     'NETWORK,                                         )
14                                                     )
              Defendants.                             )
15                                                    )
16
      TO:    Life Flight Network, LLC and John Doe Employees I-V of Life Flight
17           Network, LLC:

18           A lawsuit has been started against you in the above entitled court by [4], Plaintiff.
                                                                                        Plaintiff.

19    Plaintiff's claims are stated in the
                                       the written Complaint, a copy of which is served upon you
                                           written Complaint,

20    with this Summons.
21           In order to defend against this lawsuit, you must respond to the Complaint by stating
22
      your defense
      your defense in writing,
                      writing, and
                               and by serving    copy upon
                                      serving aa copy upon the
                                                            the person
                                                                 person signing
                                                                         signing this
                                                                                  this Summons
                                                                                        Summons
23

24

25 SUMMONS                                                   GLP ATTORNEYS, P.S., INC.   INC.
   SUMMONS --1
             1                                                    ATTORNEYS AT LAW
                                                             115 N
                                                                 N WASHINGTON,
                                                                   WASHINGTON, THIRD
                                                                                 THIRD FLOOR
26                                                                  SPOKANE, WA 99201
                                                                      (509) 455-3636
                                                               FACSIMILE (509)
                                                               FACSIMILE     (509) 321-7459
Case 2:22-cv-00057-TOR           ECF No. 1-2       filed 04/04/22      PageID.9 Page 2 of 11




1
     within 20 days
     within 20 daysafter
                    afterthe
                           the service
                             service    of this
                                     of this    Summons,
                                             Summons,      excluding
                                                      excluding       theofday
                                                                the day         of service,
                                                                            service,         if you are
                                                                                     if you are
2
     servedwithin
     served withinthe
                   theState
                       Stateof of Washington;
                               Washington;    40 days
                                           40 days if youif are
                                                            youa are      insurance
                                                                      a foreign
                                                                  foreign           company;
                                                                                insurance    or
                                                                                          company; or
3
     60 days
     60 daysififyou
                 youare
                     areserved
                         served  outside
                               outside the the
                                           StateState of Washington,
                                                 of Washington,       or a default
                                                                or a default          may be may be
                                                                                   judgment
                                                                             judgment
4
     entered  against
     entered against   you
                     you   without
                         without notice. A Default
                                    notice. A Default Judgment
                                                   Judgment is oneiswhere Plaintiff
                                                                     one where      is entitled
                                                                                 Plaintiff  is entitled
                                                                                                to      to
 5
     what  heororshe
     what he      sheasks
                       asks   because
                          forfor      you have
                                 because       not responded.
                                          you have            If you serve
                                                     not responded.   If youa serve
                                                                              Notice aofNotice of
6
     Appearanceonon
     Appearance   thethe undersigned
                       undersigned     person,
                                   person,      youentitled
                                           you are   are entitled  to before
                                                            to notice notice abefore
                                                                               Defaulta Judgment
                                                                                        Default Judgment
 7
     may beentered.
     may be entered.
 8

 9          You may
            You maydemand
                    demand  that
                          that thethe Plaintiff
                                   Plaintiff filefile  lawsuit
                                                  thisthis     withwith
                                                           lawsuit the Court. If you
                                                                        the Court. If do
                                                                                      youso,dotheso, the

10   demandmust
     demand mustbebe
                   in in writing
                       writing   and
                               and   must
                                   must    be served
                                        be served upon upon  the person
                                                        the person signingsigning this Summons.
                                                                           this Summons.

11   Within 14
     Within 14 days
               daysafter
                    afteryou
                          youserve
                               serve
                                   thethe demand,
                                       demand,      the Plaintiff
                                               the Plaintiff must must   filelawsuit
                                                                  file this   this lawsuit  with the
                                                                                     with the

12   Court, orthe
     Court, or theservice
                   serviceonon you
                             you    of this
                                 of this    Summons
                                         Summons     and Complaint
                                                 and Complaint will bewill be void.
                                                                       void.
13
               you wish
            If you wish to
                        to seek
                           seekthe
                                theadvice
                                    adviceof of
                                             an an
                                                 attorney in this
                                                    attorney       matter,
                                                               in this     you should
                                                                       matter,        do so do so
                                                                                you should
14
     promptly so
     promptly sothat
                 thatyour
                      yourwritten
                           writtenresponse, if any,
                                    response,        maymay
                                                 if any, be served on time.
                                                              be served  on time.
15
            This
            This Summons
                 Summonsisisissued pursuant
                              issued        to Rule
                                     pursuant       4 of the
                                                to Rule  4 ofSuperior Court Court
                                                              the Superior  Civil Rules
                                                                                   Civil of the of the
                                                                                         Rules
16
     State
     Stateof
           ofWashington.
             Washington.
17
                DATED this 1044`aay
                      this 104  aay of March,
                                       March,2022.
                                              2022.
18
                                       GLP
                                       GLP ATTORNEYS,
                                           ATTORNEYS,P.S.
                                                      P.S.Inc.
                                                            Inc.
19

20                                                                           4151so-
                                                                                 SO'

21                                    Sara  Ma-ki, - • •:. 2465
                                      SaraMadeki,
                                                               ()L -3
                                                              2465
                                      Attorney
                                      Attorney for
                                                for Plaintiff
                                                    Plaintiff
22

23

24

25                                                           GLP ATTORNEYS,
                                                                   ATTORNEYS, P.S., INC.
     SUMMONS - -2
     SUMMONS   2                                                  ATTORNEYS AT LAW
                                                                  ATTORNEYS
                                                             115 N WASHINGTON, THIRD FLOOR
26                                                                  SPOKANE, WA 99201
                                                                      (509) 455-3636
                                                               FACSIMILE (509) 321-7459
Case 2:22-cv-00057-TOR           ECF No. 1-2       filed 04/04/22    PageID.10 Page 3 of 11


                                                                FILED
                                                                3/10/2022
1                                                               Timothy W Fitzgerald
                                                                Spokane County
                                                                Spokane County Clerk
2

3

4

5

6
                  IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
7
                           IN AND FOR THE COUNTY OF SPOKANE
8
                                                     )
             "JACK" KRILL, an individual,
     JOHN "JACK"                                                 22-2-00754-32
9                                                    )
                                                     )    No.
10            Plaintiff,                             )
                                                     ))   COMPLAINT FOR PERSONAL
11                                                   ))   INJURIES IN TORT
     LIFE FLIGHT
     LIFE              NETWORK,LLC,
            FLIGHTNETWORK,               a foreign
                                      LLC, a foreign )
12   limited liability company doing business in      )
     the state of Washington; and JOHN DOE            )
13
     EMPLOYEES II —
     EMPLOYEES               of LIFE
                         — VVof LIFE FLIGHT           )
14   NETWORK, LLC.                                    )
                                                      )
15            Defendants.                             )
                                                      )
16
           Plaintiff John "Jack" Krill (hereinafter Jack Krill), an individual, by and through
17
     his attorney, Sara Maleki of GLP Attorneys, P.S., Inc., complains and alleges against the
18
     above-named Defendants as follows:
19

20                                           I. PARTIES
                                                PARTIES

21          1.1    Plaintiff Jack
                             Jack Krill
                                  Krill was a resident    Spokane County,
                                              resident of Spokane         Washington at all
                                                                  County, Washington

22   times relevant and material to this Complaint.

23

24
                                                                  GLP ATTORNEYS, P.S., INC.
25                                                                   ATTORNEYS AT LAW
     COMPLAINT FOR PERSONAL
     INJURIES
     INJURIES IN
              IN TORT
                 TORT-1
                      -1                                    115 N. WASHINGTON STREET, FLOOR 33
26                                                                    SPOKANE, WA 99201
                                                                         (509) 455-3636
                                                                    FACSIMILE (509) 321-74.59
                                                                                     321-7459
Case 2:22-cv-00057-TOR           ECF No. 1-2        filed 04/04/22     PageID.11 Page 4 of 11




 1
            1.2
            1.2     DefendantLife
                    Defendant LifeFlight
                                   FlightNetwork,
                                          Network,LLC
                                                   LLC         Flight"),a aforeign
                                                        ("LifeFlight"),
                                                      ("Life                       limited
                                                                             foreign limited
 2
      liability company,  oninformation
                company, on  information  and
                                        and    belief,
                                            belief,     at times
                                                    at all all times       and material
                                                                      relevant
                                                                  relevant              to this to this
                                                                               and material
 3
      Complaint,
      Complaint, isisaa limited
                        limited liability
                                 liability company
                                           company   doing
                                                   doing          in Spokane
                                                           business
                                                         business            County,
                                                                     in Spokane  County,
 4
      Washington.  Defendant
      Washington. Defendant LifeLife Flight,
                                  Flight, on on information
                                             information and and     was the
                                                                  belief,
                                                             belief,      wasemployer of
                                                                              the employer of
  5
      Defendant  JohnDoe
      Defendant John  Doe Employees
                         Employees I — IV,
                                         —atV,allattimes
                                                     all times  relevant
                                                           relevant to thisto this Complaint.
                                                                            Complaint.
  6
            1.3
            1.3     Upon information
                    Upon  informationand
                                      and  belief,
                                         belief,   Defendants
                                                 Defendants JohnJohn
                                                                 Doe Doe Employees
                                                                     Employees        I - V are
                                                                               I - V are
  7

  8   residents
      residents ofofSpokane
                     Spokane  County,
                            County,   Washington,
                                    Washington,     andbelieved
                                                and are         to havetoresided
                                                        are believed             in Spokane,
                                                                           have resided  in Spokane,

  9   SpokaneCounty,
      Spokane County, Washington,
                     Washington,     at times
                                 at all  all times   relevant
                                                relevant              to thistoComplaint.
                                                              and material
                                                         and material           this Complaint.

 10   Defendants
      DefendantsJohn Doe
                  John   Employees
                       Doe         I - V,
                           Employees    I - on
                                            V, information and belief,
                                               on information          were agents
                                                               and belief,         and
                                                                            were agents and

 11   employees
      employeesofofDefendant
                    DefendantLife Flight
                                Life     who
                                     Flight  were
                                            who   dispatched
                                                were         to thetoemergency
                                                      dispatched               scene on
                                                                      the emergency   scene on
 12   August
      August 5,
             5,2019,
                2019,and
                      andwere
                          wereacting within
                                 acting     the the
                                        within  course and scope
                                                    course       of theirofemployment
                                                            and scope                 at all at all
                                                                            their employment
 13
      times relevant
      times relevanttotothe claims
                          the      in this
                              claims       Complaint.
                                      in this         These
                                              Complaint.    individuals
                                                         These          will be
                                                                 individuals    added
                                                                              will     as named
                                                                                   be added  as named
 14
      defendants
      defendantstotothis action
                      this      once
                           action    theirtheir
                                  once      identities are disclosed
                                                identities           by Lifeby
                                                            are disclosed    Flight in discovery.
                                                                               Life Flight in discovery.
 15
                                 IL JURISDICTION AND VENUE
                                 II.
 16
             2.1
             2.1    Plaintiff JackKrill,
                    Plaintiff Jack Krill, at
                                          at all   timesrelevant
                                              all times  relevantand material
                                                                   and        to this
                                                                       material       Complaint,
                                                                                  to this Complaint,
 17
      was aaresident
      was    residentofof
                        Spokane County,
                          Spokane       Washington.
                                  County,  Washington.
 18
             2.2
             2.2    Defendant Life
                    Defendant  LifeFlight,
                                    Flight,atatallalltimes relevant
                                                       times        andand
                                                              relevant  material
                                                                           material   to Complaint,
                                                                                 to this this Complaint,
 19

 20   and on
      and on information
              informationand
                          andbelief, hadhad
                               belief,   its its
                                             principal place
                                                 principal   of business
                                                           place         in Aurora,
                                                                 of business        MarionMarion
                                                                              in Aurora,

 21   County,
      County,Oregon,
              Oregon,and
                      andconducts business
                           conducts        in Spokane,
                                     business          Spokane
                                                in Spokane,    County,County,
                                                            Spokane    Washington. The
                                                                              Washington. The

 22   Registered Agent
      Registered  Agentforfor
                            Defendant LifeLife
                              Defendant     Flight, an Oregon
                                               Flight,        limited
                                                       an Oregon      liability
                                                                   limited      company,
                                                                            liability     is
                                                                                      company, is

 23

 24

 25                                                                  GLP ATTORNEYS, P.S., INC.
      COMPLAINT FOR PERSONAL                                           ATTORNEYS
                                                                       ATTORNEYS AT LAW
      INJURIES IN
               IN TORT
                  TORT --2
                         2                                                          STREET, FLOOR 3
                                                              115 N. WASHINGTON STREET,
 26                                                                     SPOKANE, WA 99201
                                                                           (509) 455-3636
                                                                      FACSIMILE (509) 321-7459
Case 2:22-cv-00057-TOR          ECF No. 1-2        filed 04/04/22      PageID.12 Page 5 of 11




  1
      National Registered
      National RegisteredAgents,
                          Agents,Inc.,
                                  Inc., located
                                         locatedatat 711
                                                     711 Capitol Way South,
                                                         Capitol Way        Suite 204,
                                                                     South, Suite 204,
  2
      Olympia, WA 98501.
  3
            2.3     Defendants John
                    Defendants John Doe Employees II —
                                    Doe Employees    — VVwere, at all
                                                         were, at           relevant and
                                                                  all times relevant
  4
                                         information and belief, residents of Spokane County,
      material to this Complaint, and on information
  5
      Washington.
  6
            2.4         incident giving rise to
                    The incident             to this
                                                 this Complaint occurred in
                                                      Complaint occurred in Spokane
                                                                            Spokane County,
                                                                                    County,
  7

  8   WA.

  9         2.5     Venue
                    Venue is proper
                             proper in
                                     in Spokane
                                         Spokane County, Washington, because
                                                 County, Washington, because at     times
                                                                             at all times

 10   relevant and
      relevant and material
                   material to this
                               this Complaint, Defendant Life Flight conducted
                                    Complaint, Defendant             conducted business
                                                                               business in

 11   Spokane County, Washington, and Defendants
                                      Defendants John
                                                 John Doe
                                                      Doe Employees
                                                          Employees II—
                                                                      —VV are residents
 12   of Spokane County, Washington. Venue is proper pursuant to RCW 4.12.025(1) and (3).
 13
                                              HI. FACTS
 14
            3.1     Date: Plaintiff Jack Krill's  injuries arise
                                         Krill's injuries  arise out of an electrical shock exposure
 15
      which occurred on August 5, 2019.
 16
            3.2                            occurred at the scene of an attempted
                    Location: The incident occurred                               resuscitation
                                                                       attempted resuscitation
 17
      at a private residence in Medical
                                Medical Lake, Spokane County,
                                                      County, Washington.
                                                              Washington.
 18
            3.3     Details:
                    Details: On
                             On August
                                August 5, 2019, Plaintiff
                                       5, 2019, Plaintiff was
                                                          was working
                                                              working as
                                                                      as the      Chief of
                                                                             Fire Chief
                                                                         the Fire
 19

 20   Spokane
      Spokane County Fire District
                          District #10. Plaintiff and his crew were called as first responders to

 21   the home of
      the home of an
                   an individual
                       individual who
                                  who became
                                       became unconscious
                                              unconscious in his private
                                                          in his private pool.
                                                                         pool. EMTs from
                                                                               EMTs from

 22   American Medical Response (hereinafter AMR) also arrived to
                                                               to assist.

 23

 24

 25                                                                  GLP ATTORNEYS,
                                                                     GLP ATTORNEYS, P.S., INC.
      COMPLAINT FOR PERSONAL                                           ATTORNEYS AT LAW
      INJURIES INN
      INJURIES IN TORT
                   TORT--3
                         3                                    115 N. WASHINGTON STREET, FLOOR 33
                                                              115
 26                                                                     SPOKANE, WA 99201
                                                                           (509) 455-3636
                                                                                 455-3636
                                                                      FACSIMILE (509) 321-7459
Case 2:22-cv-00057-TOR             ECF No. 1-2        filed 04/04/22        PageID.13 Page 6 of 11




  1
            3.4      Defendant Life Flight was contacted because medical evacuation might have
  2
      been needed.
      been                                  transit, Plaintiff and his crew,
                   While Life Flight was in transit,
           needed. While                                               crew, working
                                                                             working in
                                                                                     in tandem
                                                                                        tandem
  3
      with EMTS
      with EMTS from AMR, worked
                          worked to resuscitate     perform "pit
                                                and perform
                                    resuscitate and         "pit crew" style
                                                                       style CPR
                                                                             CPR on the
  4
      unconscious individual.
  5
             3.5     Defendant John Doe Employees I —
                                                    — VVof
                                                        of Life
                                                           Life Flight
                                                                Flight arrived
                                                                       arrived at
                                                                               at the scene to
  6
      assist with life saving measures. It is believed that these John Doe Employees were trained

  8       employed by Life
      and employed         Flight as
                      Life Flight    crew members
                                  as crew members who
                                                  who acted
                                                      acted as
                                                            as first               emergency
                                                                       responders, emergency
                                                                first responders,

  9   medical technicians, and
      medical technicians, and who
                               who had
                                   had training    understanding of
                                                or understanding
                                       training or               of how
                                                                    how to operate an AED
                                                                        to operate    AED

 10   device in situations requiring the use of a defibrillator.

 11          3.6     Suddenly
                     Suddenly and without warning,
                              and without warning, aa John
                                                      John Doe Employee
                                                               Employee of Life Flight ran to
 12       patient, inserted
      the patient, inserted himself
                            himself without
                                    without warning
                                            warning or
                                                    or notice
                                                       notice into the CPR
                                                              into the CPR pit crew team, and
 13
      pressed the
      pressed     defibrillator button
              the defibrillator        without checking
                                button without checkingthat
                                                        that all crew were
                                                             all crew were clear,
                                                                           clear, activating
                                                                                  activating a
 14
      significant electrical charge.
 15
             3.7     Plaintiff Jack Krill
                     Plaintiff Jack Krill was
                                          was still
                                              still in his CPR pit
                                                               pit crew
                                                                   crew position
                                                                        position and
                                                                                 and touching
                                                                                     touching the
 16
      patient at the time of the defibrillator shock, and therefore received a significant shock.
 17
             3.8     As aa direct
                           direct and
                                  and proximate
                                      proximate cause
                                                cause of
                                                      of the
                                                          the Defendants'
                                                              Defendants' negligent
                                                                           negligent and careless
                                                                                     and careless
 18
                                                     including, but not limited to: Numbness, pain,
      conduct, Plaintiff suffered personal injuries, including,
 19

 20   weakness, and tingling in his right upper extremity, forearm, and right hand, pain in his left

 21   upper extremity, and severe mental anguish including PTSD, depression, and anxiety.

 22

 23

 24

 25                                                                       GLP ATTORNEYS, P.S., INC.
      COMPLAINT FOR PERSONAL                                                ATTORNEYS AT LAW
      INJURIES
      INJURIES IN
               IN TORT
                  TORT--44                                         115 N. WASHINGTON STREET,
                                                                                         STREET, FLOOR 3
 26                                                                          SPOKANE, WA 99201
                                                                                (509) 455-3636
                                                                           FACSIMILE (509) 321-7459
Case 2:22-cv-00057-TOR           ECF No. 1-2        filed 04/04/22      PageID.14 Page 7 of 11




 1
                                     IV. CAUSES OF ACTION
 2
            4.1      The Plaintiff re-adopts and re-alleges each and every material allegation set
 3
      forth above.
  4
            4.2      Respondeat Superior: Defendant
                     Respondeat Superior:                          liable for the negligence of
                                          Defendant Life Flight is liable
  5
      Defendants
      Defendants John
                 John Doe
                      Doe Employees    —VV pursuant
                          Employees II —   pursuantto
                                                    to agency
                                                       agency law
                                                              law and
                                                                  and the doctrine
                                                                          doctrine of
  6
      respondeat superior.
  7

  8         4.3      Within scope
                     Within scope of
                                  of employment: Defendants John Doe Employees I - V were
                                     employment: Defendants

  9   employees acting within
      employees acting withintheir
                              their scope
                                     scope of
                                           of employment
                                              employmentatat the
                                                              the time
                                                                  time of the  incident as
                                                                          the incident  as

 10   emergency first responders,
      emergency first             EMTs, and
                      responders, EMTs, and crew
                                            crew members
                                                 members of Life
                                                            Life Flight.
                                                                 Flight. Defendant
                                                                         Defendant Life
                                                                                   Life

 11   Flight is vicariously liable     the actions
                            liable for the actions of
                                                   of its
                                                       its employees,
                                                            employees, particularly
                                                                       particularly Defendants
                                                                                    Defendants John
                                                                                               John
 12   Doe Employees I — V,who
                      — V, who were
                               were at  the scene
                                    at the  scene of the emergency
                                                         emergency on August 5, 2019, and
 13
      should have been properly trained or supervised in the proper use of an AED device.
 14
            4.4      Negligence: Defendant
                                 Defendant Life
                                           Life Flight
                                                Flight through
                                                        through common
                                                                common law,
                                                                        law, statute,
                                                                             statute, regulation
                                                                                      regulation
 15
      and/or ordinance owed Plaintiff a duty to:
 16
            (a)      Investigate, hire and retain qualified employees;
 17         (b)      Ensure
                     Ensure that     Defendants John
                              that Defendants      John Doe
                                                          Doe Employees
                                                               Employees II —  — V were       trained
                                                                                      were trained
                     appropriately in
                     appropriately                                    AED devices
                                    in the safe and effective use of AED    devices and
                                                                                    and appropriate
                                                                                        appropriate
 18                  and safe procedures regarding a CPR pit crew;
            (c)                   Defendants John Doe
                     Ensure that Defendants           Doe Employees
                                                           Employees II —— V followed
                                                                              followed all
                                                                                        all relevant
                                                                                             relevant
 19
                     national  and local
                     national and   local safety regulations  pertaining to
                                                  regulations pertaining to the operation
                                                                                 operation of AED
                                                                                                AED
 20                  devices; and
            (d)      Ensure that Defendants John
                                               John Doe
                                                     Doe Employees
                                                          Employees II—— V had enough responding
 21                  crew   members at
                     crew members          the scene
                                        at the  scene to
                                                       to properly   supervise one
                                                           properly supervise   one another
                                                                                      another upon
                                                                                                upon
                     responding to the scene of the incident.
 22

 23

 24

 25                                                                  GLP ATTORNEYS, P.S.,
                                                                                       P.S., INC.
      COMPLAINT FOR PERSONAL                                           ATTORNEYS
                                                                       ATTORNEYS AT LAW
      INJURIES IN
               IN TORT
                  TORT--55                                        N. WASHINGTON STREET,
                                                              115 N.                STREET, FLOOR 3
 26                                                                     SPOKANE, WA 99201
                                                                           (509) 455-3636
                                                                      FACSIMILE (509) 321-7459
Case 2:22-cv-00057-TOR             ECF No. 1-2     filed 04/04/22     PageID.15 Page 8 of 11




  1
             4.5     Breach: Defendant Life Flight breached
                             Defendant Life                                            paragraph
                                                   breached its duties as set forth in paragraph
  2
      4.4.
  3
             4.6     Individual Negligence: The
                                            The John
                                                John Doe EmployeesII—
                                                     Doe Employees  —VV of
                                                                        of Life
                                                                           Life Flight owed
  4
      Plaintiff a duty to:
  5
             (a)     Operate the AED device with common sense;
  6          (b)     Verify
                     Verify that    the CPR
                              that the    CPR crew
                                                crew was
                                                       was "clear"
                                                            "clear" before
                                                                     before shocking   with the
                                                                             shocking with   the
                     defibrillator/AED;
  7
             (c)     Operate the AED device with a reasonable amount of care;
  8          (d)     Operate the AED device with even slight diligence or slight care;
             (e)     Ensure that
                     Ensure    that their
                                     their co-workers   or subordinates
                                            co-workers or   subordinates were
                                                                          were following
                                                                                following these
                                                                                           these
  9                  standards of care; and
             (f)     Obey
                     Obey the    laws and rules of the State of Washington
                            the laws                            Washington as they apply to first
 10                  responders, EMTs, and Life Flight crew members.

 11          4.7     Breach:
                     Breach: Defendants
                             Defendants John     Employees I —
                                        John Doe Employees     V of
                                                             — V         Flight breached
                                                                 of Life Flight breached
 12   heir
      heir duties as set forth in paragraph 5.5 and acted below the standard of care for EMTs,
 13
      irst responders, and Life Flight crew members.
 14
             4.8     Gross Negligence: Defendant
                     Gross Negligence: DefendantEmployees
                                                 EmployeesI I ——VV of Life Flight
                                                                   of Life Flight acted
                                                                                  acted
 15
      negligently
      negligently as
                  as set forth in paragraphs 5.3 through
                                                 through 5.5
                                                         5.5 and are guilty of gross
                                                                               gross negligence
                                                                                     negligence
 16
      in
      in that they failed to exercise
                             exercise even
                                      even slight
                                           slight care
                                                  care when
                                                       when they
                                                            they failed
                                                                 failed to
                                                                        to ensure that all CPR
 17
      crew members were "clear" prior to activating the defibrillator/AED.
 18
             4.9     Proximate
                     Proximate Cause: As aa direct
                               Cause: As    direct and
                                                   and proximate
                                                       proximate cause of Defendants' breach
                                                                                      breach
 19

 20   of duties as set forth
                       forth in
                             in paragraph 4.5 and
                                              and 4.7, Plaintiff                       injuries as
                                                       Plaintiff has suffered personal injuries

 21   outlined in paragraph 3.8.

 22

 23

 24

 25                                                                 GLP ATTORNEYS, P.S., INC.
      COMPLAINT FOR PERSONAL                                          ATTORNEYS
                                                                      ATTORNEYS AT LAW
      INJURIES
      INJURIES IN
               IN TORT
                  TORT--6
                        6                                    115 N. WASHINGTON STREET, FLOOR 33
                                                             115 N.
 26                                                                    SPOKANE, WA 99201
                                                                          (509) 455-3636
                                                                     FACSIMILE (509) 321-7459
Case 2:22-cv-00057-TOR                 ECF No. 1-2   filed 04/04/22        PageID.16 Page 9 of 11




  1
                                               V. AGENCY
  2
            5.1         The above-described acts of Defendants John
                                                 of Defendants John Doe Employees II—
                                                                    Doe Employees   — V were
  3
      committed while
      committed while these
                      these employees
                            employees were
                                      were acting
                                           acting as
                                                  as agents,
                                                     agents, servants,
                                                             servants, and    employees of
                                                                       and or employees
  4
      Defendant Life Flight.
  5
            5.2         The above-described acts of
                                                 of Defendants
                                                    Defendants John
                                                               John Doe Employees II—
                                                                    Doe Employees   — V were
  6
      committed within
      committed within the
                       the scope
                           scope of their agency and while furthering the business interests of
  7

  8   Defendant Life Flight.

  9         5.3         As the principal for
                                         for Defendants
                                             Defendants John
                                                         John Doe
                                                              Doe Employees  — V, Defendant Life
                                                                  EmployeesII—

 10   Flight is responsible for
                            for all
                                all of
                                    ofthe
                                       the acts
                                            actscommitted
                                                 committed by
                                                            byDefendants
                                                              DefendantsJohn
                                                                         JohnDoe
                                                                             DoeEmployees
                                                                                 EmployeesI I—
                                                                                             —

 11   V within the scope of their agency.
 12                                    VI. NO COMPARATIVE FAULT
 13
            6.1         Plaintiff
                        Plaintiff was without negligence
                                  was without negligence of
                                                          of any kind whatsoever,
                                                             any kind whatsoever, and
                                                                                  and did
                                                                                      did not
                                                                                          not
 14
      contribute to his injuries or damages in any way.
 15
                                              VII. DAMAGES
 16
            7.1         As aa direct
                              direct and
                                      and .proximate
                                           .proximate cause
                                                      cause of Defendants'
                                                               Defendants' negligent,
                                                                           negligent, careless,
                                                                                      careless, and
 17
      reckless acts, Plaintiff has suffered special and general damages, including, but not limited
 18
      to the following:
 19
                  (a)
                  (a)      Permanent and debilitating injuries;
 20
                  (b)      Reasonable and
                           Reasonable     necessary expenses,
                                      and necessary expenses, both
                                                              both past
                                                                   past and             health
                                                                        and future, for health
 21
                           care and treatment of his injuries in an amount to be proven at the time
 22                        of trial;
 23

 24

 25                                                                      GLP ATTORNEYS, P.S., INC.
      COMPLAINT FOR PERSONAL                                               ATTORNEYS AT LAW
      INJURIES IN
      INJURIES IN TORT
                  TORT--77                                            N. WASHINGTON STREET,
                                                                  115 N.
                                                                  115                   STREET, FLOOR 3
 26                                                                         SPOKANE, WA 99201
                                                                               (509) 455-3636
                                                                          FACSIMILE (509) 321-7459
Case 2:22-cv-00057-TOR           ECF No. 1-2        filed 04/04/22          PageID.17 Page 10 of 11




  1
                         Out of pocket expenses and other special damages, in an amount to be
  2                     proven at the time of trial;
  3                      Past and future wage loss and loss of future earning capacity;
                         Severe physical and mental pain, both past and future; and
  4
                         Loss of the capacity and ability to enjoy life, both past and future.
  5

  6          7.2     Plaintiff's  injuries are
                     Plaintiff's injuries  are ongoing
                                               ongoing and will continue to prevail for an indefinite

  7                   Plaintiff specifically
      period of time. Plaintiff
      period                    specifically reserves
                                             reserves his right to amend this Complaint
                                                      his right               Complaint at any

  8   time before trial in this matter.
  9          7.3     Plaintiff is entitled to reasonable
                                              reasonable attorneys'
                                                         attorneys' fees.
 10
             7.4     Plaintiff is entitled to costs and disbursements herein.
 11
                     VIII. WAIVER OF PHYSICIAN/PATIENT PRIVILEGE
 12
             8.1     Plaintiff asserts     physician/patient privilege
                               asserts the physician/patient privilege for
                                                                       for 88 days following
                                                                                   following the
 13
      filing of this Complaint. On
                                On the
                                    the 89th
                                        89th day
                                             day following
                                                 following the filing
                                                               filing of
                                                                      of this
                                                                         this Complaint, Plaintiff
 14
      hereby waives the physician/patient privilege.
 15
             8.2     The waiver
                         waiver is conditioned
                                   conditioned and
                                               and limited
                                                    limited as
                                                             as follows: (1) Plaintiff
                                                                follows: (1) Plaintiff does
                                                                                       does not
 16

 17   waive his constitutional right of privacy; (2) Plaintiff does not authorize contact with any

 18   of his
         his health
             health care
                    care providers
                         providers except
                                   except by
                                          by judicial
                                              judicial proceeding
                                                       proceeding authorized
                                                                  authorized by
                                                                             by the Rules of
                                                                                the Rules

 19   Civil Procedure; (3) Defendants' representatives                  instructed not to attempt
                                       representatives are specifically instructed

 20   ex parte
      ex  parte contacts
                 contacts with
                          with Plaintiff's   health care
                                Plaintiff's health         providers; and
                                                     care providers;   and (4)  Defendants'
                                                                            (4)Defendants'
 21   representatives are                                                               health care
                                                                                               care
      representatives  are specifically
                           specifically instructed
                                         instructednot
                                                    notto
                                                        to write
                                                           write letters
                                                                 letters to
                                                                         to Plaintiff's health
 22
      providers telling them that they may mail copies of records to the Defendants.
 23

 24

 25                                                                    GLP ATTORNEYS, P.S., INC.
      COMPLAINT FOR PERSONAL                                             ATTORNEYS AT LAW
      INJURIES
      INJURIES IN
               IN TORT
                  TORT--8
                        8                                       115 N. WASHINGTON STREET, FLOOR 3
 26                                                                       SPOKANE, WA 99201
                                                                             (509) 455-3636
                                                                        FACSIMILE (509) 3214459
                                                                                         321-7459
Case 2:22-cv-00057-TOR              ECF No. 1-2       filed 04/04/22      PageID.18 Page 11 of 11




  1I
                In the case
                In the         Loudon v.
                       case of Loudon v. Mhyre,
                                         Mhyre, 110
                                                110 Wn.2d 675, 756
                                                    Wn.2d 675, 756 P.2d      (1988), the
                                                                   P.2d 138 (1988),
  2
       Supreme Court
       Supreme Court dealt
                     dealt very
                           very simply
                                simply with
                                       with the issue of ex parte contact with the plaintiffs'
                                            the issue
  3
       physicians:
  4
                The issue presented is whether defense counsel in a personal injury action may
  5             communicate ex
                communicate   ex parte
                                 parte with
                                        with the  Plaintiffs treating physicians when the Plaintiff
                                              the Plaintiff's
                has waived the physician/patient    privilege. We
                               physician/patient privilege.     We hold
                                                                    hold that defense counsel may
  6             not engage in ex parte contact, but is limited
                                                          limited to the formal
                                                                         formal discovery
                                                                                discovery methods
                provided by court rule.
  7

   8   Id. at 675-676, 756 P.2d at 139.
       Id

   9
                                          IX. RELIEF
                                              RELIEF SOUGHT
  10
                9.1    Special damages for Plaintiff in such
                                                        such amounts as are proven at trial;
  11
                9.2    General damages for Plaintiff in such amounts as are proven at trial;
  12
                9.3    Costs including reasonable
                       Costs including reasonableattorneys'
                                                  attorneys' fees
                                                              fees for
                                                                   for Plaintiff
                                                                       Plaintiff as     proven at
                                                                                 as are proven
  13

  14   trial;

  15            9.4    Prejudgment interest on all liquidated damages;

  16            9.5     For such other
                        For such other and
                                       and further
                                           further relief as the
                                                              the court
                                                                   court deems
                                                                          deems just,
                                                                                 just, equitable
                                                                                        equitable and
                                                                                                  and

  17   proper for Plaintiff at the time of trial.
  18
                DATED THIS /6+4.L- day
                                   day of
                                       of March,
                                          March, 2022.
  19

  20                                           GLP ATTORNEYS, P.S., INC.

  21

  22                                           Sara M
                                               Sara M eki,
                                               Attorney for
                                                            WSBA1 42465
                                                       eki, WSBA
                                                        for Plaintiff
                                                                             -3
  23

  24

  25                                                                    GLP ATTORNEYS, P.S., INC.
       COMPLAINT FOR PERSONAL                                             ATTORNEYS AT LAW
                IN TORT
       INJURIES IN TORT --99                                     115
                                                                 115 N. WASHINGTON STREET, FLOOR 33
  26                                                                       SPOKANE, WA 99201
                                                                              (509) 455-3636
                                                                                    455-3636
                                                                         FACSIMILE (509) 321-7459
